            Case 8:24-bk-05243-CPM         Doc 12     Filed 09/13/24     Page 1 of 4




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
IN RE:
Xavier Charles Alexander Washington, II
aka Xavier Charles Washington, II                           Case No. 8:24-bk-05243-CPM
                                                            Chapter 13
      Debtor(s)
_____________________________________

             OBJECTION BY CREDITOR TO CONFIRMATION OF PLAN


       COMES NOW Secured Creditor, U.S. Bank National Association, as Indenture Trustee on

behalf of and with respect to Barclays Mortgage Trust 2021-NPL1, Mortgage-Backed Securities,

Series 2021-NPL1, by and through its undersigned counsel, and files this written objection to

confirmation of Debtor(s)’s Proposed Chapter 13 Plan, pursuant to Bankruptcy Rules §3015(f),

§9014 and all other applicable provisions of the Bankruptcy Code and as grounds therefor states:

       1.     On February 4, 2005, Debtor Xavier Charles Alexander Washington, II executed

              and delivered a Promissory Note (“Note”) and a Mortgage (“Mortgage”) securing

              payment of the Note in the amount of $284,785.00 to Bank of America, N.A. The

              Mortgage was recorded on February 11, 2005 in OR Book 14677 & Page 0128 of

              the Public Records of Hillsborough County, Florida. The loan was transferred to

              Secured Creditor which granted Secured Creditor a first lien on the real property

              located at 6211 Macdill Avenue Unit 1, Tampa, Florida 33611 the (“Subject

              Property”) legally described as:




       2.     The amount Secured Creditor’s claim as of the date of filing will be set forth in the

              Secured Creditor’s Proof of Claim filed by the deadline of November 12, 2024.
            Case 8:24-bk-05243-CPM           Doc 12    Filed 09/13/24    Page 2 of 4




       3.      The Plan fails to include the full pre-petition arrearage amount. Secured Creditor’s

               claim will show the pre-petition arrearage due to Secured Creditor is $71,015.39,

               whereas the Plan includes a pre-petition arrearage amount of only $60,299.78.

               Therefore, the Plan is not in compliance with the requirements of 11 U.S.C.

               §§1322(b)(3) and 1325(a)(5) and cannot be confirmed.

       4.      The Chapter 13 Plan does not comply with 11 U.S.C. §1325 and 11 U.S.C. §1322

               as the Plan fails to cure the pre-petition default and is not accepted by U.S. Bank

               National Association, as Indenture Trustee on behalf of and with respect to Barclays

               Mortgage Trust 2021-NPL1, Mortgage-Backed Securities, Series 2021-NPL1.

       WHEREFORE, Secured Creditor respectfully requests that this Court sustain the

objections stated herein and deny confirmation of the Debtor(s)’s Plan, and for such other and

further relief as this Court deems just and proper.

       DATED this 13th day of September 2024.

                                                      Respectfully submitted,

                                                      /S/ Seth Greenhill
                                                      SETH GREENHILL, ESQ.
                                                      Florida Bar # 97938
                                                      PADGETT LAW GROUP
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            Case 8:24-bk-05243-CPM           Doc 12     Filed 09/13/24     Page 3 of 4




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to

the parties on the attached Service List by electronic notice and/or by First Class U.S. Mail on this

13th day of September 2024:



                                              /S/ Seth Greenhill
                                              SETH GREENHILL, ESQ.
                                              Florida Bar # 97938
                                              PADGETT LAW GROUP
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                                              Tallahassee, FL 32312
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                                              Seth.Greenhill@padgettlawgroup.com
                                              Attorney for Creditor
           Case 8:24-bk-05243-CPM         Doc 12   Filed 09/13/24   Page 4 of 4




                     SERVICE LIST (CASE NO. 8:24-bk-05243-CPM)


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Trustee
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US Trustee
United States Trustee - TPA7/13, 7
Timberlake Annex, Suite 1200
501 E Polk Street
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